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March 13, 2017                                                                     Ronald L. Berenstain
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VIA ECF

The Honorable John G. Koeltl
United States District Court
Daniel Patrick Moynihan
  United States Courthouse
500 Pearl St.
New York, NY 10007-1312

Re:      Fresno County Employees’ Retirement Association, et al. v. comScore, Inc., et al.;
         Case No. 1:16-cv-01820-JGK

Dear Judge Koeltl:

We are counsel in the above-referenced action for Rentrak Corporation and its former
Directors/Officers David Boylan, David I. Chemerow, William Engel, Patricia Gottesman,
William Livek, Anne MacDonald, Martin O’Connor, Brent Rosenthal and Ralph Shaw
(collectively, the “Rentrak Defendants”).

Contemporaneously with this letter, we are filing papers in support of the Rentrak Defendants’
Motion to Dismiss Count IV of the Second Consolidated Amended Class Action Complaint for
Violation of the Federal Securities Laws. In accord with paragraph 2(F) of the document entitled
“Individual Practices of Judge John G. Koeltl,” we request oral argument on the Rentrak
Defendants’ motion to dismiss.

Very truly yours,



Ronald L. Berenstain

RLB:jeb

cc: Counsel of Record (via CM/ECF)




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